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     MATTHEW CIVITANO
 5
                                   UNITED STATES DISTRICT COURT
 6
                                 SOUTHERN DISTRICT OF CALIFORNIA
                                        SAN DIEGO DIVISION
 7

 8   MATTHEW CIVITANO,                             )   Case No.: '11CV2761 BTM JMA
                                                   )
 9                 Plaintiffs,                     )   COMPLAINT AND DEMAND FOR
                                                   )   JURY TRIAL
10          v.                                     )
                                                   )   (Unlawful Debt Collection Practices)
11   GC SERVICES, LP,                              )
                                                   )
12                 Defendant.                      )
                                                   )
13

14                                     VERIFIED COMPLAINT

15          MATTHEW CIVITANO (Plaintiff), by his attorneys, KROHN & MOSS, LTD., alleges

16   the following against GC SERVICES, LP (Defendant):

17                                         INTRODUCTION

18      1. Count I of Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act, 15

19          U.S.C. 1692 et seq. (FDCPA).

20      2. Count II of the Plaintiff’s Complaint is based on Rosenthal Fair Debt Collection

21          Practices Act, Cal. Civ. Code §1788 et seq. (RFDCPA).

22                                   JURISDICTION AND VENUE

23      3. Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that such

24          actions may be brought and heard before “any appropriate United States district court

25          without regard to the amount in controversy,” and 28 U.S.C. 1367 grants this court

            supplemental jurisdiction over the state claims contained therein.
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                                         VERIFIED COMPLAINT
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 1     4. Defendant conducts business in the state of California, and therefore, personal
 2        jurisdiction is established.
 3     5. Venue is proper pursuant to 28 U.S.C. 1391(b)(2).
 4                                             PARTIES
 5     6. Plaintiff is a natural person residing in San Diego, San Diego County, California.
 6     7. Plaintiff is a consumer as that term is defined by 15 U.S.C. 1692a(3), and according to
 7        Defendant, Plaintiff allegedly owes a debt as that term is defined by 15 U.S.C. 1692a(5)
 8        and Cal. Civ. Code § 1788.2(h).
 9     8. Defendant is a debt collector as that term is defined by 15 U.S.C. 1692a(6) and Cal. Civ.
10        Code §1788.2(c), and sought to collect a consumer debt from Plaintiff.
11     9. Defendant is a national company with offices in Houston, Texas.
12     10. Defendant acted through its agents, employees, officers, members, directors, heirs,
13        successors, assigns, principals, trustees, sureties, subrogees, representatives, and
14        insurers.
15                                   FACTUAL ALLEGATIONS
16     11. Beginning in October 2011, Defendant began placing collection calls to Plaintiff seeking
17        and demanding payment of an alleged debt owed for a repossessed vehicle.
18     12. Defendant calls Plaintiff at (914) 403-2045 from (210) 366-4397.
19     13. On October 20, 2011, Plaintiff spoke with Defendant’s agent disputing the alleged debt.
20     14. During that same conversation, Plaintiff informed Defendant’s agent that he now resides
21        in California.
22     15. On October 21, 2011, Defendant left a voicemail for Plaintiff without meaningfully
23        disclosing the identity of its company and that it is a debt collector. (See Exhibit A).
24     16. On October 31, 2011, Defendant called Plaintiff at 5:26 AM PST and again at 1:16 PM
25        PST. (See Exhibit B).


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                                         VERIFIED COMPLAINT
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 1      17. On November 2, 2011, Defendant called Plaintiff at 5:34 AM. (See Exhibit B).
 2      18. During that call, Defendant left a voicemail again without meaningfully disclosing the
 3          identity of its company and that it is a debt collector. (See Exhibit A).
 4      19. On November 9, 2011, Defendant called Plaintiff at 5:09 AM PST and left a voicemail
 5          to call back (800) 431-7358. (See Exhibit B).
 6      20. On November 10, 2011, Defendant called Plaintiff at 6:35 AM PST. (See Exhibit B).
 7      21. During that call, Defendant again left a voicemail again without meaningfully disclosing
 8          the identity of its company and that it is a debt collector. (See Exhibit A).
 9                                COUNT I
         DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT
10
        22. Defendant violated the FDCPA based on the following:
11
               a. Defendant violated §1692c(a)(1) of the FDCPA by calling Plaintiff before 8AM.
12
               b. Defendant violated §1692d of the FDCPA by engaging in conduct the natural
13
                   consequence of which is to abuse and harass Plaintiff.
14
               c. Defendant violated §1692d(6) of the FDCPA by placing calls to Plaintiff without
15
                   meaningfully disclosing its identity.
16
               d. Defendant violated §1692e(11) of the FDCPA by failing to provide the requisite
17
                   warnings in its communications with Plaintiff, to wit: “This is an attempt to
18
                   collect a debt. This communication is from a debt collector.”
19
            WHEREFORE, Plaintiff, MATTHEW CIVITANO, respectfully requests judgment be
20
     entered against Defendant, GC SERVICES, LP, for the following:
21
        23. Statutory damages of $1,000.00 pursuant to the Fair Debt Collection Practices Act, 15
22
            U.S.C. 1692k,
23
        24. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices Act,
24
            15 U.S.C. 1692k
25
        25. Any other relief that this Honorable Court deems appropriate.

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                                          VERIFIED COMPLAINT
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 1                                 COUNT II
            DEFENDANT VIOLATED THE ROSENTHAL FAIR DEBT COLLECTION
 2                              PRACTICES ACT
 3
         26. Plaintiff repeats and re-alleges all of the allegations in Count I of Plaintiff’s Complaint
 4
             as the allegations in Count II of Plaintiff’s Complaint.
 5
         27. Defendant violated the RFDCPA based on the following:
 6
                 a. Defendant violated the §1788.11of the RFDCPA by not meaningfully disclosing
 7
                     its identity;
 8
                 b. Defendant violated the §1788.17 of the RFDCPA by continuously failing to
 9
                     comply with the statutory regulations contained within the FDCPA, 15 U.S.C. §
10
                     1692 et seq. to wit: Sections 1692c, 1692d and 1692e.
11
             WHEREFORE, MATTHEW CIVITANO, respectfully requests judgment be entered
12
     against Defendant, GC SERVICES, LP, for the following:
13
         28. Statutory damages of $1000.00 pursuant to the Rosenthal Fair Debt Collection Practices
14
             Act, Cal. Civ. Code §1788.30(b),
15
         29. Costs and reasonable attorneys’ fees pursuant to the Rosenthal Fair Debt Collection
16
             Practices Act, Cal. Civ Code § 1788.30(c), and
17
         30. Any other relief that this Honorable Court deems appropriate.
18
                                      DEMAND FOR JURY TRIAL
19
             PLEASE TAKE NOTICE that Plaintiff, MATTHEW CIVITANO, demands a jury trial
20
     in this case.
21
                                                    RESPECTFULLY SUBMITTED,
22
       DATED: November 28, 2011                       KROHN & MOSS, LTD.
23

24                                                  By:/s/Nicholas J. Bontrager             _
                                                       Nicholas J. Bontrager
25                                                     Attorney for Plaintiff


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                                           VERIFIED COMPLAINT
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 2JS 44 (Rev. 12/07)                                                          CIVIL COVER SHEET
 The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
 by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
 the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

 I. (a) PLAINTIFFS                                                                                              DEFENDANTS
MATTHEW CIVITANO,                                                                                                GC SERVICES, LP,

      (b) County of Residence of First Listed Plaintiff               San Diego (CA)                            County of Residence of First Listed Defendant                Houston (TX)
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                        NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
                                                                                                                               LAND INVOLVED.
                                                                                                                                                             '11CV2761 BTM JMA
      (c) Attorney’s (Firm Name, Address, and Telephone Number)                                                  Attorneys (If Known)

Krohn & Moss, Ltd. Nicholas J. Bontrager (323) 988-2400
10474 Santa Monica Blvd., Suite 401 Los Angeles, CA 90025
 II. BASIS OF JURISDICTION (Place an “X” in One Box Only) III. CITIZENSHIP OF PRINCIPAL PARTIES(Place an “X” in One Box for Plaintiff
                                                                                                             (For Diversity Cases Only)                                         and One Box for Defendant)
 u 1     U.S. Government                  u 3 Federal Question                                                                        PTF         DEF                                          PTF      DEF
           Plaintiff                            (U.S. Government Not a Party)                           Citizen of This State         u 1         u 1      Incorporated or Principal Place      u 4     u 4
                                                                                                                                                           of Business In This State

 u 2     U.S. Government                  u 4 Diversity                                                 Citizen of Another State          u 2     u    2   Incorporated and Principal Place     u 5      u 5
           Defendant                                                                                                                                          of Business In Another State
                                                   (Indicate Citizenship of Parties in Item III)
                                                                                                        Citizen or Subject of a           u 3     u    3   Foreign Nation                       u 6      u 6
                                                                                                          Foreign Country
 IV. NATURE OF SUIT                       (Place an “X” in One Box Only)
           CONTRACT                                              TORTS                                    FORFEITURE/PENALTY                          BANKRUPTCY                     OTHER STATUTES
 u   110 Insurance                        PERSONAL INJURY                  PERSONAL INJURY              u 610 Agriculture                   u 422 Appeal 28 USC 158           u   400 State Reapportionment
 u   120 Marine                       u    310 Airplane                 u 362 Personal Injury -         u 620 Other Food & Drug             u 423 Withdrawal                  u   410 Antitrust
 u   130 Miller Act                   u    315 Airplane Product               Med. Malpractice          u 625 Drug Related Seizure                28 USC 157                  u   430 Banks and Banking
 u   140 Negotiable Instrument                 Liability                u 365 Personal Injury -               of Property 21 USC 881                                          u   450 Commerce
 u   150 Recovery of Overpayment      u    320 Assault, Libel &               Product Liability         u 630 Liquor Laws                     PROPERTY RIGHTS                 u   460 Deportation
        & Enforcement of Judgment              Slander                  u 368 Asbestos Personal         u 640 R.R. & Truck                  u 820 Copyrights                  u   470 Racketeer Influenced and
 u   151 Medicare Act                 u    330 Federal Employers’             Injury Product            u 650 Airline Regs.                 u 830 Patent                              Corrupt Organizations
 u   152 Recovery of Defaulted                 Liability                      Liability                 u 660 Occupational                  u 840 Trademark                   u   480 Consumer Credit
         Student Loans                u    340 Marine                    PERSONAL PROPERTY                    Safety/Health                                                   u   490 Cable/Sat TV
         (Excl. Veterans)             u    345 Marine Product           u 370 Other Fraud               u 690 Other                                                           u   810 Selective Service
 u   153 Recovery of Overpayment               Liability                u 371 Truth in Lending                      LABOR                     SOCIAL SECURITY                 u   850 Securities/Commodities/
         of Veteran’s Benefits        u    350 Motor Vehicle            u 380 Other Personal            u 710 Fair Labor Standards          u 861 HIA (1395ff)                        Exchange
 u   160 Stockholders’ Suits          u    355 Motor Vehicle                  Property Damage                 Act                           u 862 Black Lung (923)            u   875 Customer Challenge
 u   190 Other Contract                        Product Liability        u 385 Property Damage           u 720 Labor/Mgmt. Relations         u 863 DIWC/DIWW (405(g))                  12 USC 3410
 u   195 Contract Product Liability   u    360 Other Personal                 Product Liability         u 730 Labor/Mgmt.Reporting          u 864 SSID Title XVI              u   890 Other Statutory Actions
 u   196 Franchise                             Injury                                                        & Disclosure Act               u 865 RSI (405(g))                u   891 Agricultural Acts
        REAL PROPERTY                       CIVIL RIGHTS                 PRISONER PETITIONS             u 740 Railway Labor Act               FEDERAL TAX SUITS               u   892 Economic Stabilization Act
 u   210 Land Condemnation            u    441 Voting                   u 510 Motions to Vacate         u 790 Other Labor Litigation        u 870 Taxes (U.S. Plaintiff       u   893 Environmental Matters
 u   220 Foreclosure                  u    442 Employment                     Sentence                  u 791 Empl. Ret. Inc.                      or Defendant)              u   894 Energy Allocation Act
 u   230 Rent Lease & Ejectment       u    443 Housing/                    Habeas Corpus:                     Security Act                  u 871 IRS—Third Party             u   895 Freedom of Information
 u   240 Torts to Land                        Accommodations            u 530 General                                                             26 USC 7609                         Act
 u   245 Tort Product Liability       u    444 Welfare                  u 535 Death Penalty                   IMMIGRATION                                                     u   900Appeal of Fee Determination
 u   290 All Other Real Property      u    445 Amer. w/Disabilities -   u 540 Mandamus & Other          u 462 Naturalization Application                                              Under Equal Access
                                              Employment                u 550 Civil Rights              u 463 Habeas Corpus -                                                         to Justice
                                      u    446 Amer. w/Disabilities -   u 555 Prison Condition               Alien Detainee                                                   u   950 Constitutionality of
                                              Other                                                     u 465 Other Immigration                                                       State Statutes
                                      u    440 Other Civil Rights                                            Actions




 V. ORIGIN                  (Place an “X” in One Box Only)                                                                                                                                    Appeal to District
 u 1 Original            u 2 Removed from                    u 3 Remanded from                     u 4 Reinstated or u 5 Transferred  from
                                                                                                                         another district  u 6 Multidistrict                        u 7 Judge from
                                                                                                                                                                                        Magistrate
     Proceeding                 State Court                             Appellate Court                Reopened                                Litigation
                                                                                                                         (specify)                                                            Judgment
                                             Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                        15 USC 1692 et seq.
 VI. CAUSE OF ACTION Brief description of cause:
                       Unlawful and abusive debt collection practices
 VII. REQUESTED IN     u CHECK IF THIS IS A CLASS ACTION    DEMAND $                                                                                    CHECK YES only if demanded in complaint:
      COMPLAINT:           UNDER F.R.C.P. 23                                                                                                            JURY DEMAND:         ✔
                                                                                                                                                                             u Yes     u No
 VIII. RELATED CASE(S)
                         (See instructions):
       IF ANY                                JUDGE                                                                                              DOCKET NUMBER

 DATE                                                                       SIGNATURE OF ATTORNEY OF RECORD
  11/28/2011                                                              /s/Nicholas J. Bontrager
 FOR OFFICE USE ONLY

     RECEIPT #                   AMOUNT                                        APPLYING IFP                                       JUDGE                           MAG. JUDGE
